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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DUMBO MOVING & STORAGE, INC.,
                            Plaintiﬀ,

                     – against –
                                                                     ORDER
PIECE OF CAKE MOVING & STORAGE LLC,                             22 Civ. 05138 (ER)
SIMPLY MOVING LLC, SIMPLY MOVING &
STORAGE LLC, VOJIN POPOVIC, STEFAN
MARCALI, and VOLODYMYR PLOKHYKH,
                            Defendants.


RAMOS, D.J.:
         Dumbo has requested that Doc. 121-3 be deemed conﬁdential and treated as ﬁled

under seal. Doc. 122. Dumbo states that the exhibit includes conﬁdential information

under the terms of the protective order. Id. Defendants do not oppose the request. Doc.

123.

         Defendants may reﬁle the exhibit under seal, following the procedure set out in

section 3 of the undersigned’s individual practices.

         �e Clerk of Court is respectfully directed to modify the viewing level for Doc.

121-3 to the selected party viewing level. �e Clerk of Court is also respectfully directed

to terminate the motion, Doc. 122.


It is SO ORDERED.



Dated:    July 8, 2024
          New York, New York

                                                         EDGARDO RAMOS, U.S.D.J.
